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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

                                                Case No.: 0:19-CV-02559-DWF-BRT
FRED KRAUTKRAMER, individually and on
behalf of others similarly situated,


                   Plaintiff,
                                                   NOTICE OF APPEARANCE
             vs.

YAMAHA MOTOR CORPORATION,
U.S.A., INC.,

                                Defendant.


      The undersigned attorney hereby notifies the Court and counsel that Bryan R.

Freeman, Thomas R. Pack and Robert J. Koneck, shall appear as counsel of record for

Defendant Yamaha Motor Corporation, U.S.A., Inc. in this case.

Dated: December 3, 2019                  MASLON LLP


                                         By: s/ Thomas R. Pack
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                            -and-

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                            herewith)
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